Case 4:13-cr-00092-SDJ-CAN Document 555 Filed 09/18/20 Page 1 of 4 PageID #: 2020




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA,                          §
                                                     §
                 Plaintiff,                          §
  v.                                                 §
                                                     §     CRIMINAL ACTION NO. 4:13-CR-92
  STEPHEN CHANCE HILTON,                             §
                                                     §
                 Defendant.                          §


                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE

         Now before the Court is the request for revocation of Defendant’s supervised release. After

  the District Judge referred the matter to this Court for a report and recommendation, the Court

  conducted a hearing on September 17, 2020, to determine whether Defendant violated his

  supervised release. Defendant was represented by Scott Palmer. The Government was represented

  by Will Tatum.

         Stephen Chance Hilton was sentenced on April 28, 2014, before The Honorable Marcia A.

  Crone of the Eastern District of Texas after pleading guilty to the offense of Possession with Intent

  to Distribute Methamphetamine, a Class C felony. This offense carried a statutory maximum

  imprisonment term of 20 years. The guideline imprisonment range, based on a total offense level

  of 23 and a criminal history category of VI, was 92 to 115 months. Upon the defendant’s motion

  for a variance, based on a pending amendment to the sentencing guidelines, Stephen Chance Hilton

  was sentenced to 80 months imprisonment followed by a 3-year term of supervised release, subject

  to the standard conditions of release, plus special conditions to include financial disclosure;

  substance abuse testing and treatment; mental health treatment; obtain GED, and a $100 special

  assessment. On January 19, 2018, Stephen Chance Hilton completed his period of imprisonment


  REPORT AND RECOMMENDATION – Page 1
Case 4:13-cr-00092-SDJ-CAN Document 555 Filed 09/18/20 Page 2 of 4 PageID #: 2021




  and began service of the supervision term in the Eastern District of Texas, Plano Office. On

  January 24, 2020, this case was reassigned to The Honorable Sean D. Jordan, U.S. District Judge

  for the Eastern District of Texas.

         On July 31, 2020, the U.S. Probation Officer executed a Petition for Warrant or Summons

  for Offender Under Supervision [Dkt. 534, Sealed]. The Petition asserts that Defendant violated

  seven (7) conditions of supervision, as follows: (1) the defendant shall not commit another federal,

  state, or local crime; (2) the defendant shall refrain from any unlawful use of a controlled

  substance; (3) the defendant shall refrain from excessive use of alcohol and shall not purchase,

  possess, use, distribute, or administer any controlled substance or any paraphernalia related to any

  controlled substances, except as prescribed by a physician; (4) the defendant shall report to the

  probation officer and shall submit a truthful and complete written report within the first five days

  of each month; (5) The defendant shall participate in a program of testing and treatment for drug

  abuse, under the guidance and direction of the U.S. Probation Office, until such time as the

  defendant is released from the program by the probation officer. The defendant shall pay any cost

  associated with treatment and testing; (6) Under the guidance and direction of the United States

  Probation Office, the defendant shall participate in a combination of psychiatric, psychological, or

  mental health treatment and shall comply with any medication requirements as prescribed by the

  treatment provider; and (7) The defendant shall notify the probation officer within seventy-two

  hours of being arrested or questioned by a law enforcement officer.

         The Petition alleges that Defendant committed the following acts: (1) On November 19,

  2019, Mr. Hilton was arrested by The Colony, TX, Police Department for the misdemeanor

  offenses of Assault Causes Bodily Injury-Family Violence, and Resisting Arrest, Search or

  Transport. According to the arrest report, Mr. Hilton and his girlfriend were arguing, and at some



  REPORT AND RECOMMENDATION – Page 2
Case 4:13-cr-00092-SDJ-CAN Document 555 Filed 09/18/20 Page 3 of 4 PageID #: 2022




  point, he threw a cell phone which struck her in the rib/abdomen area. Additionally, the arrest

  report reveals Mr. Hilton was actively and passively resisting as officers were attempting to place

  him into the police car, laid across the back of the police vehicle stretched out, and was kicking at

  the officers preventing them from closing the doors. The officers had to ultimately use empty hand

  controls to gain Mr. Hilton’s compliance so they could safely close both of the rear car doors for

  transport. On November 20, 2019, he was released from custody of the Denton County Sheriff’s

  Office on bond. On June 24, 2020, Mr. Hilton was formally charged in Denton County Criminal

  Court with Assault Causes Bodily Injury Family Member, Case No. CR-2020-02884-A, and

  Resisting Arrest, Search or Transport, Case No. CR-2020-02885-A. Both offenses are class A

  misdemeanors, and arraignment is set for August 3, 2020; (2), (3) On February 21; March 2; June

  11, and July 15, 2020, Mr. Hilton submitted urine specimens that tested positive for

  methamphetamine. Additionally, on June 25, 2020, he submitted a urine specimen which was

  considered a presumptive positive on the initial test cup collection; however, the drug laboratory

  was not able to perform a proper confirmation      result   because     there was    “interference”,

  which is typically attributed to deliberate adulteration or use of medication. After submitting the

  urine specimen on June 25, 2020, Mr. Hilton admitted to the treatment provider that he used

  methamphetamine about a week prior. On all of the aforementioned occasions, Mr. Hilton

  admitted usage and/or the specimens were confirmed positive by Alere Toxicology Services, Inc.;

  (4) Mr. Hilton failed to report to the U.S. Probation Office as directed on June 30; July 8 and 14,

  2020; (5) Mr. Hilton failed to report for drug testing at Addiction Recovery Center in Lewisville,

  TX, on June 10, 2020, and failed to report for drug testing at the U.S. Probation Office on July 14,

  2020; (6) Mr. Hilton failed to participate in telehealth mental health counseling sessions with

  Christen E. Clower, Ph.D., Denton, TX, on April 22, May 22, June 26, and July 1, 2020. On July



  REPORT AND RECOMMENDATION – Page 3
Case 4:13-cr-00092-SDJ-CAN Document 555 Filed 09/18/20 Page 4 of 4 PageID #: 2023




  1, 2020, he was unsuccessfully discharged from mental health treatment with Dr. Clower due to

  his failure to participate as directed; and (7) On July 16, 2020, Mr. Hilton had contact with the Fort

  Worth, TX, Police Department, as officers had responded to call of a domestic disturbance. Upon

  questioning Mr. Hilton and his supposed girlfriend, officers determined the argument appeared to

  have been verbal and not physical, and no arrests were made. Mr. Hilton, however, failed to notify

  the probation officer of this contact with law enforcement.

         Prior to the Government putting on its case, Defendant entered a plea of true to allegations

  4, 5, 6, and 7 of the Petition. The Government dismissed the remaining allegations. Having

  considered the Petition and the plea of true to allegations 4, 5, 6, and 7, the Court finds that

  Defendant did violate his conditions of supervised release.

         Defendant waived his right to allocute before the District Judge and his right to object to

  the report and recommendation of this Court.

                                       RECOMMENDATION

         Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

  supervised release be revoked and that he be committed to the custody of the Bureau of Prisons

  for a term of fourteen (14) months of imprisonment, such term of imprisonment to run consecutive

  to Defendant’s state case(s), with no term of supervised release to follow.

         The Court also recommends that Defendant be housed in a Bureau of Prisons facility in

  FCI El Reno, Oklahoma, if appropriate.

         SIGNED this 18th day of September, 2020.




                                      ___________________________________
                                      Christine A. Nowak
                                      UNITED STATES MAGISTRATE JUDGE
  REPORT AND RECOMMENDATION – Page 4
